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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

PROCESS AND INDUSTRIAL
DEVELOPMENTS LIMITED,

                                      Petitioner,
                         v.                                  Case No. 18-cv-00594-CRC

FEDERAL REPUBLIC OF NIGERIA AND                          ORAL ARGUMENT REQUESTED
MINISTRY OF PETROLEUM RESOURCES OF
THE FEDERAL REPUBLIC OF NIGERIA,

                                   Respondents.


                       RESPONDENTS’ MOTION TO DISMISS
                   FOR LACK OF JURISDICTION UNDER THE FSIA

       Respondents Federal Republic of Nigeria and the Ministry of Petroleum Resources of the

Federal Republic of Nigeria (together, “Nigeria”), by and through their undersigned counsel,

hereby move to dismiss the petition to confirm a foreign arbitral award filed by Process and

Industrial Developments Limited (ECF No. 1) for lack of jurisdiction under the Foreign

Sovereign Immunities Act (the “FSIA”), 28 U.S.C. §§ 1330, 1602 et seq., pursuant to Rules

12(b)(1) and 12(b)(2) of the Federal Rules of Civil Procedure.

       This motion is based on the accompanying Memorandum of Points and Authorities and

the Declaration of Joseph D. Pizzurro, dated August 27, 2018, filed concurrently herewith.
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Dated: Washington, D.C.
       August 27, 2018
                                              Respectfully submitted,

                                               CURTIS, MALLET-PREVOST,
                                               COLT & MOSLE LLP

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                                               Republic of Nigeria and Ministry of
                                               Petroleum Resources of the Federal
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